1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF NEW YORK


               In Re:                                        §
                                                             §
               HENEL-MATTISON HOLDINGS, INC.                 §     Case No. 12-11068 CLB
                                                             §
                                   Debtor                    §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       HAROLD P. BULAN, chapter 7 trustee, submits this Final Account, Certification that
               the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 552,000.00                        Assets Exempt: 0.00
               (Without deducting any secured claims)

               Total Distributions to Claimants: 219,075.38        Claims Discharged
                                                                   Without Payment: 1,340,383.45

               Total Expenses of Administration: 146,135.96


                       3) Total gross receipts of $ 740,211.34 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $ 375,000.00 (see Exhibit 2), yielded net receipts of $ 365,211.34 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                  CLAIMS                CLAIMS
                                                SCHEDULED         ASSERTED                ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA         $ 32,500.00            $ 32,500.00           $ 32,500.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA          146,135.96             146,135.96            146,135.96

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                 NA                     NA                    NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA           21,000.00                   0.00                  0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            867,596.00        1,326,831.83           1,294,331.83            186,575.38

TOTAL DISBURSEMENTS                               $ 867,596.00     $ 1,526,467.79         $ 1,472,967.79          $ 365,211.34


                  4) This case was originally filed under chapter 7 on 04/05/2012 . The case was pending
          for 93 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 11/16/2019                        By:/s/HAROLD P. BULAN
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

5417 TONAWANDA CREEK RD., NO.
TONAWANDA, NY 14120                                                          1110-000                                176,618.81

2488 W. CHURCH, EDEN, NY 14057 OWN
50% WITH JOHN                                                                1110-000                                  60,266.31

ESCROW FUNDS HELD BY MARK
SALTARELLI, ESQ. AND ROB                                                     1110-000                                371,267.38

ESCROW FUNDS HELD BY MARK
SALTARELLI, ESQ. AND ROB                                                     1129-000                                132,058.84

TOTAL GROSS RECEIPTS                                                                                                $ 740,211.34
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

                                                  Non-Estate Funds Paid to Third
Robert R. Radel, Esq.as Attorney for              Parties                                            8500-000        375,000.00

TOTAL FUNDS PAID TO DEBTOR &                                                                                        $ 375,000.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS




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                                                  UNIFORM         CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                           CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                   CODE       (from Form 6D)

              DAVID K. SILVERBERG,
              ESQ.                                4120-000                 NA        32,500.00        32,500.00         32,500.00

TOTAL SECURED CLAIMS                                                     $ NA       $ 32,500.00      $ 32,500.00      $ 32,500.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS            CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                             SCHEDULED          ASSERTED          ALLOWED
                                            CODE

TRUSTEE
COMPENSATION:HAROLD P.
BULAN, TRUSTEE                              2100-000                     NA         40,260.57         40,260.57         40,260.57


INTERNATIONAL SURETIES INC.                 2300-000                     NA            472.62            472.62           472.62


INTERNATIONAL SURETIES,
LTD.                                        2300-000                     NA          1,279.72          1,279.72          1,279.72


EQUITY TITLE AGENCY, LLC                    2500-000                     NA             54.38             54.38             54.38


CLERK, U.S. BANKRUPTCY
COURT                                       2700-000                     NA            643.00            643.00           643.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):HODGSON RUSS
LLP                                         3210-000                     NA         42,729.00         42,729.00         42,729.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):MORRIS L.
HORWITZ                                     3210-000                     NA         12,711.88         12,711.88         12,711.88




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                                         UNIFORM
                                                       CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                        CLAIMS PAID
                                                     SCHEDULED        ASSERTED         ALLOWED
                                          CODE

ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):HODGSON RUSS LLP                    3220-000               NA        45,389.04       45,389.04        45,389.04


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):MORRIS L. HORWITZ                   3220-000               NA            45.75           45.75             45.75


APPRAISER FOR TRUSTEE
FEES:CASH REALTY &
AUCTIONS                                  3711-000               NA           750.00          750.00           750.00


APPRAISER FOR TRUSTEE
FEES:NORTHEASTERN
APPRAISAL ASSOCIATES                      3711-000               NA         1,800.00        1,800.00          1,800.00

TOTAL CHAPTER 7 ADMIN. FEES                                 $ NA        $ 146,135.96    $ 146,135.96      $ 146,135.96
AND CHARGES



           EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                       CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                        CLAIMS PAID
                                                     SCHEDULED        ASSERTED         ALLOWED
                                          CODE

NA: NA                                          NA               NA              NA              NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                  $ NA               $ NA            $ NA              $ NA
FEES AND CHARGES



           EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                 6E)             Claim)

7-2          LAWRENCE A. MATTISON 5300-000                             NA           21,000.00             0.00            0.00

TOTAL PRIORITY UNSECURED                                             $ NA         $ 21,000.00         $ 0.00             $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                 6F)             Claim)

             Altmeyer, Thomas 74 Cornell
             Ave. Buffalo, NY 14226                                 630.00                 NA             NA              0.00


             Brown, Thomas 510 Pond Rd.
             Elma, NY 14059                                         405.00                 NA             NA              0.00


             Foremost Insurance P.O. Box
             0915 Carol Stream, IL 60132                            142.00                 NA             NA              0.00


             Four Corners Abstract 370
             East Ave. Rochester, NY
             14604                                                2,850.00                 NA             NA              0.00


             Hannnon, Timothy 51
             Brynstone Buffalo, NY 14228                        228,600.00                 NA             NA              0.00


4            AMELIA BURSZTYN                     7100-000        58,627.00          58,627.19      58,627.19          8,450.99


6            HUY EANG UNG                        7100-000        52,938.00          52,937.50      52,937.50          7,630.84


9            JOHN APGAR                          7100-000              NA          365,000.00     365,000.00         52,614.03




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                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

7-1          LAWRENCE A. MATTISON 7100-000                        26,120.00          48,592.81         48,592.81         7,004.56


1            MICHAEL ENRIGHT                     7100-000       110,458.00          117,106.54       117,106.54        16,880.68


2            PATRICK ENRIGHT                     7100-000          6,700.00            6,700.00         6,700.00          965.79


3            TIMOTHY HANNON                      7100-000               NA          300,695.69       268,195.69        38,659.88


5            WILLIAM D. HENEL                    7100-000       380,126.00          377,172.10       377,172.10        54,368.61

TOTAL GENERAL UNSECURED                                        $ 867,596.00     $ 1,326,831.83    $ 1,294,331.83     $ 186,575.38
CLAIMS




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                                                                                                        FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                        Page:       1
                                                                                         ASSET CASES                                                                                          Exhibit 8
Case No:             12-11068       CLB Judge: CARL L. BUCKI                                                              Trustee Name:                      HAROLD P. BULAN
Case Name:           HENEL-MATTISON HOLDINGS, INC.                                                                        Date Filed (f) or Converted (c):   04/05/12 (f)
                                                                                                                          341(a) Meeting Date:               05/11/12
For Period Ending: 11/16/19
                                                                                                                          Claims Bar Date:                   01/28/13

                                1                                       2                   3                    4         5                         6                       7                      8
                                                                                     Est Net Value
                                                                                                            Property                             Asset Fully
                                                                                   (Value Determined
                                                                    Petition/                               Formally   Sale/Funds            Administered (FA)/
                                                                                    by Trustee, Less
                         Asset Description                         Unscheduled                             Abandoned   Received by        Gross Value of Remaining           Lien              Exempt
                                                                                   Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                Values                                OA=554(a)    the Estate                 Assets                   Amount             Amount
                                                                                    and Other Costs)
 1. 10823 NEW OREGON RD., NORTH COLLINS, NY                            42,000.00             42,000.00                           0.00                 FA                             0.00                   0.00
 14111 OWN
 2. 88 SAWYER AVE., LANCASTER, NY 14086 OWN 50%                        88,000.00             88,000.00                           0.00                 FA                             0.00                   0.00
 WITH
 3. 2550 MAIN ST., BUFFALO, NY 14214 OWN 50% WITH                      82,000.00             82,000.00                           0.00                 FA                             0.00                   0.00
 JOH
 4. 196 MEADOW LEA, AMHERST, NY 14051 OWN 50%                          55,000.00             55,000.00                           0.00                 FA                             0.00                   0.00
 WITH JO
 5. 5417 TONAWANDA CREEK RD., NO. TONAWANDA,                          174,000.00            174,000.00                    176,618.81                  FA                             0.00                   0.00
 NY 14120
 6. 4715 THOMPSON RD., CLARENCE, NY 14031 OWN                         230,000.00            230,000.00                           0.00                 FA                             0.00                   0.00
 50% WIT
 7. 2488 W. CHURCH, EDEN, NY 14057 OWN 50% WITH                        55,000.00             55,000.00                     60,266.31                  FA                             0.00                   0.00
 JOHN
 8. 3735 WABASH AVE., HANBURG, NY 14075 OWN 50%                        55,000.00             55,000.00                           0.00                 FA                             0.00                   0.00
 WITH
 9. RENTS COLLECTED FROM MULTIPLE PROPERTIES                                0.00                  0.00                           0.00                 FA                             0.00                   0.00
 OVER SEVE
     Rents collected from multiple properties over several
     months from several tenants by John Apgar. Debor has
     requested but Mr. Apgar refuses to provide debtor with this
     information. The amount is estimated to be several
     thousand dollars.
 10. ESCROW FUNDS HELD BY MARK SALTARELLI,                            181,114.20            181,114.20                    503,326.22                  FA                             0.00                   0.00
 ESQ. AND ROB
     ESCROW FUNDS HELD BY MARK SALTARELLI,
     ESQ. and ROBERT BATTISTA AS ESCROW AGENTS,
     Funds are owned by debtor, John Apgar and Emilio and
     Renato Pasucci as follows: Battista is holding $96.432.39



                                                                                                                                                                                                    Ver: 22.02b
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                                                                                                                FORM 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                    Page:       2
                                                                                              ASSET CASES                                                                                                      Exhibit 8
Case No:             12-11068       CLB Judge: CARL L. BUCKI                                                                                  Trustee Name:                      HAROLD P. BULAN
Case Name:           HENEL-MATTISON HOLDINGS, INC.                                                                                            Date Filed (f) or Converted (c):   04/05/12 (f)
                                                                                                                                              341(a) Meeting Date:               05/11/12
                                                                                                                                              Claims Bar Date:                   01/28/13

                                1                                             2                     3                      4                   5                         6                       7                   8
                                                                                             Est Net Value
                                                                                                                      Property                                       Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds            Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by        Gross Value of Remaining           Lien           Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                 Assets                   Amount          Amount
                                                                                            and Other Costs)
     from the sale of 5686 Hunters Creek, South Wales on
     6/30/10. The property was owned 1/3 by debtor; 1/3 by
     Apgar and 1/3 by Pasucci. Battista is holding $73,840.41
     from the sale of 23 S. Century, Cheektowaga on 7/27/10.
     The property was owned 1/3 by debtor; 1/3 by Apgar and
     1/3 by Pasucci. Saltarelli is holding $149,358.37 from the
     sale of 188 Bellingham, Amherst on 4/5/11. The property
     was owned 1/2 by debtor and 1/2 by Apgar. Saltarelli is
     holding $141,592.20 from the sale of 4837 Gerber,
     Hamburg on 7/28/11. The property was owned 1/2 by
     debtor and 1/2 by Apgar. Saltarelli is holding $87,607.53
     from the sale of 4715 Millgrove, Akron on 9/2/11. The
     property was owned 1/2 by debtor and 1/2 by Apgar.

                                                                                                                                                           Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                       $962,114.20               $962,114.20                               $740,211.34                           $0.00             $0.00               $0.00
                                                                                                                                                         (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  Initial Projected Date of Final Report (TFR): 12/31/13           Current Projected Date of Final Report (TFR): 12/31/18




                                                                                                                                                                                                                     Ver: 22.02b
LFORM1EX                                       Case 1-12-11068-CLB, Doc 201, Filed 04/14/20, Entered 04/14/20 17:40:27,
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                                                                                                  FORM 2                                                                                      Page:    1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:           12-11068 -CLB                                                                                          Trustee Name:                    HAROLD P. BULAN
  Case Name:         HENEL-MATTISON HOLDINGS, INC.                                                                          Bank Name:                       UNION BANK
                                                                                                                            Account Number / CD #:           *******7244 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                               Blanket Bond (per case limit):   $ 7,316,562.00
                                                                                                                            Separate Bond (if applicable):


           1             2                                 3                                               4                                            5                     6                   7
    Transaction      Check or                                                                                                      Uniform                                                    Account / CD
       Date          Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                  BALANCE FORWARD                                                                                                          0.00
          01/22/13               Trsf In From Capital One                         INITIAL WIRE TRANSFER IN                        9999-000              607,859.50                                607,859.50
          07/15/13    010001     CASH REALTY & AUCTIONS                           Appraisal Fee on Three Properties               3711-000                                         750.00         607,109.50
                                 1295 MAIN STREET                                 Per Order 7/12/13
                                 BUFFALO, NY 14209
          10/29/13    010002     International Sureties Inc.                      Bond #016029057                                 2300-000                                         472.62         606,636.88
                                 Suite 420
                                 701 Poydras Street
                                 New Orleans, LA 70139
          08/25/14    010003     INTERNATIONAL SURETIES, LTD.                     Bond Premium 9/1/14 - 9/1/15                    2300-000                                         595.86         606,041.02
                                 SUITE 420                                        Bond #016029057
                                 701 POYDRAS STREET
                                 NEW ORLEANS, LA 70139
          08/14/15    010004     International Sureties, Ltd.                     Bond Premium 9/1/15 - 9/1/16                    2300-000                                         320.48         605,720.54
                                 701 Poydras Street, Suite 420                    Bond Number 016029057
                                 New Orleans, LA 70139
          09/06/16    010005     INTERNATIONAL SURETIES, LTD.                     Blanket Bond No. 016029057                      2300-000                                         181.72         605,538.82
                                 SUITE 420
                                 701 POYDRAS STREET
                                 NEW ORLEANS, LA 70139
          09/13/17    010006     Northeastern Appraisal Associates                Appraisal Fee for Six Properties                 3711-000                                       1,800.00        603,738.82
                                 Residential Inc.                                 Inv Nos. 17070199, 17070200, 17070201, 17070202,
                                 616 North French Road, Suite 100                 17070203 and 17070204
                                 Amherst, NY 14228

                                 Attention: Joseph M. Whittington
          09/21/17    010007     International Sureties, Ltd.                     Bond #016029057                                 2300-000                                         181.66         603,557.16
                                 701 Poydras Street, Suite 420
                                 New Orleans, LA 70139
          10/18/17      10       Ralph C. Lorigo, Esq.                            Escrow Funds Held by R. Battista                1129-000              132,058.84                                735,616.00

                                                                                                                            Page Subtotals              739,918.34                 4,302.34
                                                                                                                                                                                                      Ver: 22.02b
LFORM24                                     Case 1-12-11068-CLB, Doc 201, Filed 04/14/20, Entered 04/14/20 17:40:27,
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:           12-11068 -CLB                                                                                            Trustee Name:                    HAROLD P. BULAN
  Case Name:         HENEL-MATTISON HOLDINGS, INC.                                                                            Bank Name:                       UNION BANK
                                                                                                                              Account Number / CD #:           *******7244 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                                 Blanket Bond (per case limit):   $ 7,316,562.00
                                                                                                                              Separate Bond (if applicable):


           1             2                                3                                                 4                                             5                       6                  7
    Transaction      Check or                                                                                                         Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction             Tran. Code      Deposits ($)          Disbursements ($)      Balance ($)
          12/14/17    010008     Equity Title Agency, LLC                        Judgment Lien Search Inv No. 38112                  2500-000                                           54.38        735,561.62
                                 25 South Cayuga Road                            Order entered 12/7/17
                                 Williamsville, NY 14221
          12/19/17    010009     Hodgson Russ LLP                                Special Counsel Disbursements                       3220-000                                           78.88        735,482.74
                                 Attorneys at Law                                Per Order 12/18/17
                                 Guaranty Building
                                 140 Pearl Street
                                 Buffalo, NY 14202
          12/19/17    010010     Hodgson Russ LLP                                Special Counsel Fees                                3210-000                                      38,456.10         697,026.64
                                 Attorneys at Law                                Per Order 12/18/17
                                 Guaranty Building
                                 140 Pearl Street
                                 Buffalo, NY 14202
          01/08/18    010011     Robert R. Radel, Esq.as Attorney for            Per Stipulation of Settlement and                   8500-000                                     375,000.00         322,026.64
                                 John Apgar                                      Order dated 12/18/17
          02/01/18    010012     David K. Silverberg, Esq.                       Payment to Secured Creditor                         4120-000                                      32,500.00         289,526.64
                                 as Attorney for Timothy Hannon                  Timothy Hannon pursuant to Order entered 12/18/17
          05/16/18    010013     Hodgson Russ LLP                                Special Counsel Fees                                3210-000                                         4,272.90       285,253.74
                                 Attorneys at Law                                Per Order 5/7/18
                                 The Guaranty Building
                                 110 Pearl Street, Suite 100
                                 Buffalo, NY 14202
          05/16/18    010014     Hodgson Russ LLP                                Special Counsel Expenses                            3220-000                                          967.16        284,286.58
                                 Attorneys at Law                                Per Order 5/7/18
                                 The Guaranty Building
                                 110 Pearl Street, Suite 100
                                 Buffalo, NY 14202
          06/05/18    010015     Hodgson Russ LLP                                Special Counsel Fees                                3220-000                                      44,343.00         239,943.58
                                 Attorneys at Law                                Per Order 5/7/18
                                 The Guaranty Building

                                                                                                                              Page Subtotals                        0.00           495,672.42
                                                                                                                                                                                                         Ver: 22.02b
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:           12-11068 -CLB                                                                                         Trustee Name:                    HAROLD P. BULAN
  Case Name:         HENEL-MATTISON HOLDINGS, INC.                                                                         Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******7244 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                              Blanket Bond (per case limit):   $ 7,316,562.00
                                                                                                                           Separate Bond (if applicable):


           1             2                                3                                                4                                           5                       6                  7
    Transaction      Check or                                                                                                     Uniform                                                     Account / CD
       Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 110 Pearl Street, Suite 100
                                 Buffalo, NY 14202
          08/27/19    010016     HAROLD P. BULAN, TRUSTEE                        Chapter 7 Compensation/Fees                     2100-000                                       40,260.57         199,683.01
          08/27/19    010017     CLERK, U.S. BANKRUPTCY COURT                    Clerk of the Courts Costs (includes             2700-000                                           350.00        199,333.01
                                 Olympic Towers
                                 300 Pearl Street, Suite 250
                                 Buffalo, NY 14202
          08/27/19    010018     Morris L. Horwitz                               Claim 8-1, Payment 100.00000%                   3210-000                                       12,711.88         186,621.13
                                 P.O. Box 716
                                 Getzville, NY 14068
          08/27/19    010019     Morris L. Horwitz                               Claim 8-2, Payment 100.00000%                   3220-000                                            45.75        186,575.38
                                 P.O. Box 716
                                 Getzville, NY 14068
          08/27/19    010020     Michael Enright                                 Claim 1, Payment 14.41481%                      7100-000                                       16,880.68         169,694.70
                                 16310 W 62nd Drive
                                 Arvada, CO 80403
          08/27/19    010021     Patrick Enright                                 Claim 2, Payment 14.41478%                      7100-000                                           965.79        168,728.91
                                 1392 E. Robinson Road
                                 North Tonawanda, NY 14150
          08/27/19    010022     Timothy Hannon                                  Claim 3, Payment 14.41480%                      7100-000                                       38,659.88         130,069.03
                                 c/o David K. Silverberg, Esq.
                                 403 Main Street
                                 600 Brisbane Building
                                 Buffalo, NY 14203
          08/27/19    010023     Amelia Bursztyn                                 Claim 4, Payment 14.41480%                      7100-000                                          8,450.99       121,618.04
                                 2 Sweet Briar Court
                                 Tonawanda, NY 14150
          08/27/19    010024     William D. Henel                                Claim 5, Payment 14.41480%                      7100-000                                       54,368.61             67,249.43
                                 59 Brynstone Court
                                 Amherst, NY 14228

                                                                                                                           Page Subtotals                        0.00           172,694.15
                                                                                                                                                                                                      Ver: 22.02b
LFORM24                                     Case 1-12-11068-CLB, Doc 201, Filed 04/14/20, Entered 04/14/20 17:40:27,
          UST Form 101-7-TDR (10/1/2010) (Page: 12)
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                                                                                                FORM 2                                                                                           Page:     4
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:           12-11068 -CLB                                                                                           Trustee Name:                    HAROLD P. BULAN
  Case Name:         HENEL-MATTISON HOLDINGS, INC.                                                                           Bank Name:                       UNION BANK
                                                                                                                             Account Number / CD #:           *******7244 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                                Blanket Bond (per case limit):   $ 7,316,562.00
                                                                                                                             Separate Bond (if applicable):


           1             2                                3                                              4                                               5                       6                   7
    Transaction      Check or                                                                                                       Uniform                                                      Account / CD
       Date          Reference                Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          08/27/19    010025     Huy Eang Ung                                    Claim 6, Payment 14.41481%                        7100-000                                          7,630.84            59,618.59
                                 266 Mang Avenue
                                 Kenmore, NY 14217
          08/27/19    010026     Lawrence A. Mattison                            Claim 7-1, Payment 14.41481%                      7100-000                                          7,004.56            52,614.03
                                 388 N. Ellicott Creek Road
                                 Amherst, NY 14228
          08/27/19    010027     John Apgar                                      Claim 9, Payment 14.41480%                        7100-000                                       52,614.03                    0.00
                                 c/o Robert Radel, Esq.
                                 174 Franklin Street
                                 Buffalo, NY 14202

                                                                                                         COLUMN TOTALS                                   739,918.34              739,918.34                     0.00
                                                                                                             Less: Bank Transfers/CD's                   607,859.50                    0.00
                                                                                                         Subtotal                                        132,058.84              739,918.34
                                                                                                             Less: Payments to Debtors                                           375,000.00
                                                                                                         Net
                                                                                                                                                         132,058.84              364,918.34




                                                                                                                             Page Subtotals                        0.00              67,249.43
                                                                                                                                                                                                         Ver: 22.02b
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          UST Form 101-7-TDR (10/1/2010) (Page: 13)
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                                                                                           FORM 2                                                                                                    Page:      5
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                      Exhibit 9
  Case No:           12-11068 -CLB                                                                                      Trustee Name:                       HAROLD P. BULAN
  Case Name:         HENEL-MATTISON HOLDINGS, INC.                                                                      Bank Name:                          Capital One
                                                                                                                        Account Number / CD #:              *******6736 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                           Blanket Bond (per case limit):      $ 7,316,562.00
                                                                                                                        Separate Bond (if applicable):


           1             2                            3                                             4                                                 5                          6                         7
    Transaction      Check or                                                                                                  Uniform                                                               Account / CD
       Date          Reference             Paid To / Received From                      Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                              BALANCE FORWARD                                                                                                                       0.00
          06/20/12      10       SALTARELLI & ASSOCIATES, P.C.                                                                1110-000                371,267.38                                            371,267.38
                                 156 DELAWARE AVE
                                 TONAWANDA, NY 14150
          07/10/12    001001     CLERK, U.S. BANKRUPTCY COURT                 REMOVAL FEE AP#12-01036                         2700-000                                                293.00                370,974.38
          08/14/12      5        DOMENIC J. MIGLIACCIO ESQ.                                                                   1110-000                176,618.81                                            547,593.19
                                 69 DELAWARE AVE, STE. 500
                                 BUFFALO, NY 14202
          08/14/12      7        DOMENIC J. MIGLIACCIO ESQ                                                                    1110-000                 60,266.31                                            607,859.50
                                 69 DELAWARE AVENUE
                                 BUFFALO, NY 14202
          01/22/13               Trsf To UNION BANK                           FINAL TRANSFER                                  9999-000                                          607,859.50                          0.00

                                                                                                    COLUMN TOTALS                                    608,152.50                  608,152.50                          0.00
                                                                                                        Less: Bank Transfers/CD's                          0.00                  607,859.50
                                                                                                    Subtotal                                         608,152.50                       293.00
                                                                                                        Less: Payments to Debtors                                                       0.00
                                                                                                    Net
                                                                                                                                                     608,152.50                       293.00
                                                                                                                                                                            NET                             ACCOUNT
                                                                                                    TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                    Checking Account - ********7244                   132,058.84                  364,918.34                          0.00
                                                                                                    Checking Account - ********6736                   608,152.50                       293.00                         0.00
                                                                                                                                            ------------------------    ------------------------   ------------------------
                                                                                                                                                      740,211.34                  365,211.34                          0.00
                                                                                                                                            ==============             ==============              ==============
                                                                                                                                             (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                        Transfers)               To Debtors)                    On Hand




                                                                                                                        Page Subtotals                608,152.50                  608,152.50
                                                                                                                                                                                                               Ver: 22.02b
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          UST Form 101-7-TDR (10/1/2010) (Page: 14)
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                                                                                    FORM 2                                                                                       Page:    6
                                                                ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit 9
  Case No:          12-11068 -CLB                                                                             Trustee Name:                    HAROLD P. BULAN
  Case Name:        HENEL-MATTISON HOLDINGS, INC.                                                             Bank Name:                       Capital One
                                                                                                              Account Number / CD #:           *******6736 Checking Account
  Taxpayer ID No:    *******6372
  For Period Ending: 11/16/19                                                                                 Blanket Bond (per case limit):   $ 7,316,562.00
                                                                                                              Separate Bond (if applicable):


          1            2                        3                                            4                                            5                       6                  7
    Transaction    Check or                                                                                          Uniform                                                     Account / CD
       Date        Reference          Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)




                                                                                                              Page Subtotals                        0.00                  0.00
                                                                                                                                                                                         Ver: 22.02b
LFORM24                                     Case 1-12-11068-CLB, Doc 201, Filed 04/14/20, Entered 04/14/20 17:40:27,
          UST Form 101-7-TDR (10/1/2010) (Page: 15)
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